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  Woman sues School of Art Institute, ex-teacher                                         Opinion



  over ʻextreme sex discrimination’
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A Massachusetts woman claims in a new federal lawsuit she suffered “extreme sex discrimination,” harassment, violence,
retaliation and abuse at the hands of a former faculty member at the School of the Art Institute of Chicago.

The woman filed her lawsuit Monday in federal court in Chicago under the name Jane Doe. It alleges now-former faculty member
John Phillips engaged in sexual misconduct with her and other students.

The complaint also targets school administrators Lisa Wainwright, Beth Wright, Amanda DaSilva and Michael Nicolai.

A spokesman for the school did not immediately respond to a call seeking comment. Phillips in an interview acknowledged a “very
consensual relationship” with the student — he called it a “horrible mistake” — but declined to comment further.

The woman who filed the lawsuit suffers from attention deficit/hyperactivity disorder, anxiety, panic attacks, insomnia and
depression, according to the complaint. It also alleges Phillips had a history of sexual misconduct with students.

The school knew about the woman’s disorders, as well as Phillips’ history, but still assigned him to be her adviser 2016, giving him
“direct control over her academic career,” according to the lawsuit.

The woman claims Phillips gave her and a friend drugs and alcohol, engaged in sexually abusive conduct with them and
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